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5    Attorneys for Defendant
     LINDA M. BURKE
6
7
                  IN THE UNITED STATES DISTRICT COURT FOR THE
8
                               EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                       CASE NO. CR. S-05-0365 FCD
11                                                   STIPULATION AND ORDER
                  Plaintiff,                         MODIFYING TERMS OF PRETRIAL
12                                                   RELEASE RE DEFENDANT’S
           vs.                                       PASSPORT
13
     LINDA M. BURKE,
14
15                Defendant.
                                            /
16
           The defendant, Linda M. Burke, through her counsel of record, and plaintiff
17
     United States of America, through its counsel, Assistant United States Attorney, Kyle
18
     Reardon, agree and stipulate that the condition of pre-trial release requiring the
19
     defendant to surrender her passport to the Clerk of the Court may be modified to permit
20
     the Clerk to release the previously-surrendered passport to counsel for the defendant.
21
           The defendant’s father, who lives in Canada, is currently gravely ill. The
22
     defendant would like to have her passport, which has since expired, returned to her by
23
     the Clerk so she can renew it to be able to travel to Canada at a future date should it
24
     become necessary to visit with her father. The defendant has consulted with her Pretrial
25
     Services Officer, who has expressed no opposition to the Clerk’s release of her
26
     passport for this purpose, and any future travel outside the United States would remain
27
     subject to approval by Pretrial Services and this Court.
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1          IT IS SO STIPULATED.
2    Dated: December 8, 2010                SEGAL & KIRBY LLP
3
4                                           By: /s/ James P. Mayo
                                              JAMES P. MAYO
5                                           Counsel for Defendant
                                            LINDA M. BURKE
6
7    Dated: December 8, 2010
8
9                                           By:/s/ Kyle Reardon
                                              KYLE REARDON
10                                          Assistant United States Attorney (per
                                            authorization)
11
12                                            ORDER
13         GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the
14   condition of pre-trial release requiring the defendant to surrender her passport to the
15   Clerk of the Court is hereby modified to permit the Clerk to release the previously-
16   surrendered passport to counsel for the defendant.
17         IT IS SO ORDERED.
18
19   Dated: December 9, 2010
                                             _______________________________________
20                                           FRANK C. DAMRELL, JR.
                                             UNITED STATES DISTRICT JUDGE
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